          Case 1:06-cv-00484-LMB Document 40 Filed 07/28/06 Page 1 of 17




     In the United States Court of Federal Claims
                                   Case No. 06-484C
                           (Filed Under Seal: July 21, 2006)
                    (Reissued July 28, 2006 - FOR PUBLICATION1)


 ***************************                 *   Post-award Bid Protest;
 ADVANCED SYSTEMS                            *   Override of CICA Stay;
 DEVELOPMENT, INC.,                          *   Supplemental Determination and
                Plaintiff,                   *   Findings;
                                             *   Consideration of Materials Outside of
             v.                              *   the Administrative Record;
                                             *   Declaratory Judgment.
 THE UNITED STATES OF AMERICA,               *
                 Defendant,                  *
                                             *
             and                             *
                                             *
 KENROB IT SOLUTIONS, INC.,                  *
                 Intervenor.                 *
                                             *
 ***************************                 *



       Paul E. Pompeo, Holland & Knight, LLP, Washington, D.C., attorney of record
for Plaintiff. Of Counsel are Kara L. Daniels and David J. Craig.

      Nancy Myung-Jin Kim, Commercial Litigation Branch, Department of Justice,
Washington, D.C., attorney of record for Defendant. With her on the briefs were
Peter D. Keisler, Assistant Attorney General; David M. Cohen, Director; and
Jeanne E. Davidson, Deputy Director. Andrew Bramnick, Assistant General
Counsel, Washington Headquarters Service, Of Counsel.

       John Scott Hommer, III, Venable LLP, Washington, D.C., attorney of record for
Intervenor.

      John Bergen, Law Clerk; Eric J. Lipton, Intern.



      1
       The public version is identical to the sealed version with the following
exceptions: Of Counsel are listed for Plaintiff; the date on page 3 has been corrected to
June 14, 2006; and the specific dollar amount on page 15 has been replaced with
brackets.
        Case 1:06-cv-00484-LMB Document 40 Filed 07/28/06 Page 2 of 17




                                    ORDER/OPINION

BASKIR, Judge.

       This case arises out of Plaintiff’s bid protest pending at the Government
Accountability Office (GAO), and the associated stay in contract performance imposed by
the Competition in Contracting Act (CICA), 31 U.S.C. § 3553. In the present action,
Advanced Systems Development, Inc. (ASD), the unsuccessful offeror in the underlying
procurement, challenges the Defendant’s decision to override the “CICA stay,” pursuant
to Section 3553(d)(3)(c) of the Act, based on the determination that it is in the best
interests of the United States to proceed with contract performance by Intervenor,
KENROB IT Solutions, Inc. (KENROB), pending the outcome of the GAO protest.

       On June 26, 2006, ASD moved for injunctive and declaratory relief in order to
prevent further performance of this contract until adjudication of ASD’s protest by the GAO.
For the reasons stated herein, Plaintiff’s motion is GRANTED in part, and DENIED
in part.

                                     BACKGROUND

Procurement History

       Plaintiff is a small business that provides enterprise Information Technology (IT)
solutions and other similar services. The company is an incumbent contractor for
various IT support with Defendant through the Washington Headquarters Services
(WHS). Bennet Decl. at ¶ 2. WHS is a field activity of the Department of Defense
(DoD) comprised of eleven directorates which provide support to the Secretary of
Defense and other DoD activities. Prior to the contract award at issue in this case,
WHS had six separate contracts with five different companies to meet its IT support
needs. Administrative Record (AR) at 335.

       The agency determined that it would be more efficient to consolidate the
separate IT systems into one integrated system provided by one contractor.
Consequently, on March 9, 2006, WHS issued Solicitation No. HQ0034-06-R-1012 for
a new consolidated WHS IT Support services contract. AR at 191. The procurement
sought a total small business set aside to acquire labor, hardware/software and other
materials necessary to provide WHS and its clients with “a flexible, responsive platform
of IT services,” including support-like web management and software development.
The solicitation listed certain evaluation factors and stated that a contract would be
awarded to the offeror whose proposal provided the best overall value to the
Government. AR at 266-72.



                                            -2-
        Case 1:06-cv-00484-LMB Document 40 Filed 07/28/06 Page 3 of 17



       On April 12, 2006, ASD, KENROB IT Solutions Inc. (KENROB), and three other
offerors submitted timely proposals to WHS in response to the solicitation. Based on
preliminary evaluations, WHS was interested only in offers from ASD and KENROB.
AR at 1557. After receiving the companies’ final proposals, the agency found that
KENROB represented the best value. On June 5, 2006, KENROB was awarded the
WHS Information Technology Support contract. AR at 1998.

GAO Protest

        On June 14, 2006, ASD filed a timely bid protest with the GAO concerning the
award of the IT support contract. Plaintiff argues that the WHS price evaluation
scheme was flawed, WHS failed to conduct meaningful discussions with ASD regarding
its price proposal, and the agency erred in its evaluation of ASD’s and KENROB’s
technical and management proposals under the best value evaluation scheme. On
June 14, 2006, GAO notified WHS of the bid protest and thus triggered the automatic
stay provisions of the CICA.

       As the following discussion illustrates, compliance with the statute requires the
contracting officer to “direct the contractor to cease performance under the contract and
to suspend any related activities that may result in additional obligations being incurred
by the United States under the contract.” 31 U.S.C § 3553(d)(3)(A)(ii). Furthermore,
“performance [of the challenged contract] may not be resumed while the protest is
pending.” Id. at § 3553(d)(3)(B). The GAO is scheduled to issue its report in this case
no later than September 22, 2006.

Override of the CICA Stay

       Rather than await the GAO’s report, however, the agency chose to proceed. On
June 21, 2006, WHS directed KENROB to continue performance of the new contract
and issued its “Determination and Findings to Proceed with Contract Performance After
Receipt of a Protest.” In a 10-paragraph document, Mr. Ralph Newton, acting director
of WHS, outlined the basis for the agency’s decision to override the CICA stay. The
report provides three primary reasons for WHS’s decision to continue performance of
the challenged services contract – inefficiency of the current model, the need for a
smooth transition by permitting the awardee to immediately hire incumbent personnel,
and avoiding a loss of IT services to the customer – found in paragraphs 8, 9 and 10,
respectively:

      8.     Suspending performance of the KENROB contract during the
             pendency of this bid protest is not in the public interest. The
             current fragmentation of IT support [into six contracts] combines
             high costs with low performance and represents a poor use of
             federal funds. In addition, extending the existing contracts
             prolongs the problem without the opportunity for mitigation in the
             interim. Using six different IT support contracts is inherently

                                           -3-
        Case 1:06-cv-00484-LMB Document 40 Filed 07/28/06 Page 4 of 17



             inefficient and there is nothing short of the consolidation of services
             contemplated by this contract, that can make this operation more
             efficient.

      9.     A suspension in contract performance would frustrate efforts to
             provide a smooth transition to a new service provider.
             Notwithstanding the fact that KENROB can fully staff the job with its
             own resources, it is in the Government’s interest to retain as many
             of the incumbent contractor’s qualified staff as possible. These
             individuals, many of whom have been supporting WHS for an
             extended period, have developed valuable knowledge that would
             be difficult to replicate. Suspending performance would put these
             invaluable individuals, who are qualified and would otherwise be
             interested in accepting an employment offer from KENROB, into
             limbo. KENROB, with contract performance suspended, cannot
             hire them. Their current employer, even with a contract extension,
             could not offer stable employment for more than a few months and
             these individuals would likely seek other opportunities elsewhere.

      10.    Avoiding an unscheduled loss of service [to Department of Defense
             employees] is of paramount importance. The WHS network
             supports: critical building operations at the Pentagon (i.e. electricity,
             air conditioning, etc.), the Defense Finance and Accounting Service
             (payment office for thousands of contracts), the Office of the
             Secretary of Defense, and more than 2500 other users and
             customers of WHS information technology. The public interest
             demands that every effort be made to ensure a smooth transition
             and delaying implementation of a more streamlined and effective
             approach to providing IT support would be imprudent.

Determination and Findings to Proceed with Contract Performance After Receipt of a
Protest (June 21, 2006) (D&F) at ¶¶ 8-10; AR at Tab 39.

        Pursuant to the statute and its implementing regulations, the WHS Director may
“authorize contract performance, notwithstanding the protest” on one of two grounds:
(1) “[c]ontract performance will be in the best interest of the United States;” and
(2) “[u]rgent and compelling circumstances that significantly affect the interests of
the United States will not permit waiting for the GAO’s decision.” 48 C.F.R.
§ 33.104(c)(2)(I). The Director issued the override only on the first ground. The formal
Determination reads as follows:




                                            -4-
        Case 1:06-cv-00484-LMB Document 40 Filed 07/28/06 Page 5 of 17



       In accordance with the procedures described at Part 33.104(c)(2)(I) of the
       Federal Acquisition Regulation, as the head of the Head of the
       Contracting Activity [sic], I hereby determine that permitting KENROB to
       proceed with contracting performance is in the best interests of the
       United States.

D&F, “Determination”; AR at Tab 39.

Procedural History

       On June 26, 2006, ASD filed a protest in this Court seeking injunctive and
declaratory relief. In its formal motion and accompanying memorandum, ASD
challenges the WHS determination to override the CICA stay. The Court promptly held
a Preliminary Status Conference on June 27, 2006. At that status conference, the
Court granted KENROB’s Motion to Intervene and then set an expedited briefing
schedule.

       The Defendant filed the administrative record on June 30, 2006. The record,
submitted as a CD, included an extensive array of documents pertinent to the
procurement, but did not contain any material directly relevant to the agency’s override
decision, except for the two-page D&F.

       The Defendant subsequently filed its Opposition to Plaintiff’s Motion for
Preliminary Injunction on July 6, 2006, as did the Intervenor. The Defendant’s
opposition “relied upon the complaint, the administrative record, the following brief, and
attached exhibits.” Defendant’s Opposition (Def. Opp.) at 1. One of those exhibits was
a document that purports to be a “Supplemental Determination and Findings to Proceed
with Contract Performance After Receipt of a Protest”; the document is dated July 5,
2006, the day before the brief was filed. Def. Opp. at Tab B.

       In the so-called “Supplemental Findings,” the acting director of WHS further
considered the previous WHS override and found that continued performance
outweighed any potential benefits from the CICA stay should ASD win its bid protest.
According to him, if WHS had to resort to its six incumbent contracts, the contracts
“would have to be de-scoped dramatically, which will result in significantly degraded
service to WHS’ customers.” Supplemental D&F at ¶ 7.

       Also included as an exhibit attached to Defendant’s brief was a fourteen
paragraph declaration from Mr. Robert Cox, WHS Deputy Director for IT Management
Directorate. See Def. Opp. at Tab A. The declaration, also dated July 5, 2006,
contains information that appears to have been relied upon by Mr. Newton in his
Supplemental Findings issued the same day. Mr. Cox further outlines justifications for
the agency’s decision to override the CICA stay. Of particular note is his opinion that,
without the override, “it is highly probable that several key support services . . . would
be rendered inoperable.” Decl. of Robert Cox at ¶ 12. The Deputy Director also

                                            -5-
        Case 1:06-cv-00484-LMB Document 40 Filed 07/28/06 Page 6 of 17



concludes that “[t]he Pentagon would lose its ability to effectively track goods and
deliveries that enter and exit the facility [posing] risk of a security breach.” His
document also provides purported dollar savings that would flow from the override. Id.
at ¶ 13. This is the first time that such concerns had been expressed by WHS.

       We have received no written motion to supplement the administrative record,
which was filed six days prior to the creation of these two documents. We address this
matter more fully in the discussion below.

         On July 10, 2006, ASD filed its Reply Brief, its first opportunity to respond since
the filing of the administrative record and the additional material accompanying the
Defendant’s brief. Plaintiff does not argue the merits of the underlying GAO protest in
this action. The Plaintiff filed this protest solely to enforce the CICA automatic stay
provisions triggered by its bid protest. Plaintiff objected to the Determinations and
Findings supporting the continuation of contract performance. Plaintiff also attacked
the Cox Declaration and the Supplemental Findings exhibits as “post-hoc
rationalizations” not properly before the Court. Despite its procedural objections,
Plaintiff preserved its position on those documents by also addressing the legal
sufficiency of the new override justifications. At the conclusion of oral argument, heard
on July 17, 2006, we ruled that the Defendant’s newly offered exhibits were out of
order. We shall address this issue in more detail below in our treatment of the case in
chief.

                                       DISCUSSION

Standard of Review

      This Court has jurisdiction over bid protests pursuant to the Tucker Act, which
provides in pertinent part:

       [T]he United States Court of Federal Claims shall have jurisdiction to
       render judgment on an action by an interested party objecting to. . . any
       alleged violation of statute or regulation in connection with a procurement.

28 U.S.C. § 1491(b)(1). It is now well settled that this jurisdiction extends to challenges
to an agency’s decision to override the automatic stay provisions of the CICA. See
RAMCOR Servs. Group, Inc. v. United States, 185 F.3d 1286, 1289 (Fed. Cir. 1999)
(pre-award override based on urgent and compelling circumstances provision); PGBA,
LLC v. United States, 57 Fed. Cl. 655, 659 (2003) (post-award override based on best
interests of the United States provision). But see Spherix, Inc. v. United States, 62 Fed.
Cl. 497, 505 (2004) (argues for more deferential review of best interests override).




                                             -6-
        Case 1:06-cv-00484-LMB Document 40 Filed 07/28/06 Page 7 of 17



       We review bid protests under the standards set forth in the Administrative
Procedures Act (APA), 5 U.S.C. § 706(2)(A). See 28 U.S.C. § 1491(b)(4). Pursuant to
that statute, the Court may overturn an agency’s override decision only if it is arbitrary,
capricious, an abuse of discretion, or otherwise not in accordance with law. 5 U.S.C.
§ 706(2)(A). The Supreme Court has defined judicial review under the APA in
exceedingly narrow terms. Rather than second-guessing the agency’s decision or
substituting its own judgment for that of the responsible agency official, the Court
considers “whether the decision was based on a consideration of the relevant factors
and whether there has been a clear error in judgment.” Citizens to Preserve Overton
Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971) (citations omitted).

       Plaintiff points to four factors, any one of which may render a decision arbitrary
and capricious. The decision fails the strict APA standard if the agency: 1) “relied on
factors which Congress has not intended it to consider,” 2) “entirely failed to consider an
important aspect of the problem,” 3) “offered an explanation for its decision that runs
counter to the evidence before the agency,” or 4) the decision “is so implausible that it
could not be ascribed to a difference in view or the product of agency expertise.” Motor
Vehicle Mfrs. Ass’n of the United States. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29,
43 (1983); Pl. Br. at 3.

       In short, the Court must look to see whether the agency considered the relevant
factors and made a rational decision based on those factors. Advanced Data
Concepts, Inc. v. United States, 216 F.3d 1054, 1058 (Fed. Cir. 2000). For an accurate
picture of the relevant factors in an override case such as this one, we must consider
the Competition in Contracting Act of 1984 and, in particular, the objectives behind its
automatic stay feature.

The Requirements of CICA

        A disappointed bidder may file a protest of a federal procuring agency’s contract
award with the GAO, pursuant to CICA, 31 U.S.C. § 3553(a). A protest may also be
filed in this Court. A major difference between the two protest avenues is that a
decision of this Court is a legal judgment the parties are bound to observe. A GAO
decision adverse to an agency is only a recommendation – the GAO has no
enforcement powers. See Ameron, Inc. v. United States Army Corps of Eng’rs, 809
F.2d 979, 995 (3rd Cir. 1986). Bid protest cases filed at the GAO involve procedures
far different than similar protests filed in this Court. Within one day of the filing of a bid
protest at the GAO, the Comptroller General must notify the agency involved. 31 U.S.C.
§ 3553(b)(1). If the federal agency receives notice of the bid protest within ten days of
the contract award, § 3553(d)(4)(A), then the contracting officer must order all
performance under the protested contract to halt immediately, if such performance has
already begun. § 3553(d)(3)(A)(ii). Once in effect, this automatic stay will ordinarily last
for the duration of the pending bid protest. § 3553(d)(3)(B).



                                             -7-
        Case 1:06-cv-00484-LMB Document 40 Filed 07/28/06 Page 8 of 17



        In the case of post-award protests, an agency may override the stay and
authorize performance under the protested contract if the head of the procuring activity
for the agency makes a written finding that:

      (i)    performance of the contract is in the best interests of the
             United States; or
      (ii)   urgent and compelling circumstances that significantly affect
             interests of the United States will not permit waiting for the decision
             of the Comptroller General concerning the protest.

§ 3553(d)(3)(C). In pre-award challenges, the agency may continue with the award and
performance of the contract only upon a written finding of “urgent and compelling
circumstances.” § 3553(c)(2)(A). In the present case, however, ASD filed a challenge
after the GAO announced the award to KENROB. The acting director of WHS issued a
timely override, dated June 21, 2006, based solely on the “best interests” exception to
the automatic stay.

Override Determination

       The U.S. Court of Federal Claims has on many occasions considered the
Government’s compliance with the aims of CICA. We cannot improve upon Judge
Allegra’s comprehensive treatment of the legislative objectives of the CICA stay
provisions in PGBA, LLC v. United States, 57 Fed. Cl. 655 (2003); therefore, we use it
as our model in reviewing WHS’s compliance with the statute. The automatic stay is
intended to preserve the status quo during the pendency of the protest so that an
agency would not cavalierly disregard the GAO’s recommendation to cancel the
challenged award. Id. at 660, n.8 (quoting Lear Siegler, Inc. Energy Prods. Div. v.
Lehman, 842 F.2d 1102, 1105 (9th Cir. 1988), mod. on other grounds, 893 F.2d 205
(9th Cir. 1989)). The overarching goal of the stay is to preserve competition in
contracting and ensure a fair and effective process at the GAO. Id. Therefore, WHS
may only override the automatic stay upon a proper determination that the best
interests of the United States outweigh this Congressional policy. Id. at 663. In this
regard, WHS has utterly failed.

        On its face, the D&F is legally insufficient. It explicitly proclaims that the
challenged acquisition should proceed because “the current fragmentation of IT support
combines high costs with low performance and represents a poor use of federal funds.”
D&F at ¶ 8. In other words, the new contract is cheaper and better than the old
contract. The allegation that the new contract is better than the old one in terms of cost
or performance is not enough to justify a best interests determination. PGBA, 57 Fed.
Cl. at 662. Indeed, it will almost always be the expectation that the new contract will be
an improvement over the old. Id. at 663. To allow a best interests determination to rest




                                           -8-
        Case 1:06-cv-00484-LMB Document 40 Filed 07/28/06 Page 9 of 17



on such a common ground would permit the override exception to swallow the
Congressionally mandated rule that stays be automatic. Id.; accord Univ. Research
Co. v. United States, 65 Fed. Cl. 500, 503 (2005).

       We acknowledge that the WHS made a persuasive case for the advantages of
the new contract. But no matter how many manifestations of this assessment appear in
the override, it is still only one assessment. This lone justification cannot stand on its
own unless we are to ignore CICA’s mandate. PGBA, 57 Fed. Cl. at 661-62; see also,
Cigna Government Serv. v. United States, 70 Fed. Cl. 100, 102 n.5 (2006) (“Absent the
stay, GAO’s protest process – an enforcement mechanism for competition in
government procurement – can be rendered illusory or ‘toothless’ if agencies cavalierly
invoke best interest overrides and ‘extremely tight’ schedules just to get on with their
procurements.”) There must be some rationale – above and beyond the principle aim
originally sought when WHS decided to engage bidders in the competitive procurement
– that absolves the agency of its obligation to await the GAO’s recommendation. For
instance, in Spherix, a case relied upon extensively by Defendant, the unique nature of
the program and critical scheduling issues supported the agency’s override. Spherix,
62 Fed. Cl. at 506 (noting that “particular program is a Presidential priority, not an
ordinary governmental program”). The stay at issue jeopardized the phased-in
implementation of a new recreation and reservation program, which required contract
performance to begin during non-peak periods. Id.

        Although Spherix advocated a lesser showing for “best interests” determinations
than for “urgent and compelling circumstances” – an approach with which we disagree
– the governmental action in that case nevertheless appears to have been held to a
higher standard. In Spherix the override was justified by much more than a brief delay
in commencing with the awarded contract. Similarly, in Sierra Military Health Services,
Inc. v. United States, 58 Fed. Cl. 573, 581 (2003), the stay would have subjected the
agency to prohibitive contract extension costs. And in Chapman Law Firm Co. v.
United States, 67 Fed. Cl. 188 (2005), there was the danger that no services at all could
be offered during the stay because of an absence of personnel. Id. at 192-93 (Court
credited HUD concerns that unmanaged properties would pose financial and public
safety risks.)

        In this case, the WHS offers only that the stay will not allow the agency to
eliminate the needless and expensive duplication of IT systems as quickly as it wishes.
The D&F cites no specialized and unique consequences of delay beyond this generic
desire to get on with the procurement. Although WHS points to the potential frustration
of “efforts to provide a smooth transition to a new service provider,” the agency does
not back the claim. D&F at ¶ 9.

       Its concern centers on the available personnel during the transition period.
Defendant raises the specter of an exodus of required specialists. However, the
rationale offered by the Director is internally inconsistent. In the space of one


                                           -9-
       Case 1:06-cv-00484-LMB Document 40 Filed 07/28/06 Page 10 of 17



paragraph, he asserts “that KENROB can fully staff the job with its own resources” (a
statement that is supported by the administrative record, see KENROB’s Proposal,
Transition Plan, AR 645-46), and then also cites the unfounded concern that
incumbent workers who might otherwise be interested in accepting employment with
KENROB, will be placed in limbo -- “KENROB, with contract performance suspended,
cannot hire them.” D&F at ¶ 9.

        Of course, many of these incumbent workers that the agency would have
transition over to Team KENROB are ASD employees. So the Director is guilty of much
more than contradictory logic; he offers as a justification for lifting the stay the very type
of competitive disadvantage that the CICA seeks to prevent.

         The agency’s interests in avoiding an unscheduled loss of service also do not
justify the override. While loss of service might be a valid concern, unlike the facts in
the Chapman or Sierra cases, here there is no indication in the original D&F that IT
services will be jeopardized (we will discuss the supplemental findings momentarily).
The WHS fails to explain adequately why it cannot obtain the IT services from sources
other then KENROB during the period of delay. For instance, the incumbent contracts
apparently could be extended. However, the WHS chooses not to extend them based
solely on their assurance that the old contracts are not as efficient as the new
consolidated contract. D&F at ¶ 8.

       Ultimately, each of the proffered reasons for overriding the stay can be traced
back to the desire to embark on the newer, better contract. It is the preferred approach,
certainly, but there has been no showing that it is a necessary approach. See e.g.,
D&F at ¶ 10 (“The public interest demands that every effort be made to ensure a
smooth transition and delaying implementation of a more streamlined and effective
approach to providing IT support would be imprudent.”).

        Nor does the override determination compare the perceived disadvantages of
recognizing the stay to the potential disadvantages that might result if ASD prevails in
its protest. This would make WHS liable for costs incurred by KENROB during the
period in which the stay would have been imposed. See Chapman Law Firm Co. v.
United States, 62 Fed. Cl. 464, 467-68 (2004); PGBA, 57 Fed. Cl. at 662. There is no
discussion of extending or modifying current contracts during the GAO case. Instead
that topic is foreclosed with the following flat assertion:

       The current fragmentation of IT support combines high costs with low
       performance and represents a poor use of federal funds. In addition,
       extending the existing contracts prolongs the problem without the
       opportunity for mitigation in the interim. Using six different IT support




                                             -10-
       Case 1:06-cv-00484-LMB Document 40 Filed 07/28/06 Page 11 of 17



      contracts is inherently inefficient and there is nothing short of the
      consolidation of services contemplated by this contract, that can
      make this operation more efficient.

D&F at ¶ 8.

       The WHS has apparently read out of CICA any significance to the stay
requirement. There is no claim that existing systems might lapse during the delay
occasioned by the GAO protest. See PGBA, 57 Fed. Cl. at 661. It is not the case,
apparently, that there will be no contractors capable of providing interim services. See
Chapman Law Firm, 67 Fed. Cl. at 191. To the contrary, the D&F recognizes that there
are plenty of qualified personnel with valuable knowledge currently working for the
incumbent contractor. D&F at ¶ 9. The WHS Director’s rationale simply extols the
virtues of proceeding with the new contract and ensuring a smooth transition, while
ignoring the possibility that the protest may have merit. We conclude that this
shortsighted approach is both arbitrary and capricious, and contrary to the objectives of
CICA’s stay provisions.

       Finally, we note that the Defendant effectively conceded at least one of the
override’s deficiencies in its brief:

      ASD asserts that WHS should have considered the costs to terminate
      KENROB’s contract for convenience should its protest be sustained and
      ASD prevail in the re-evaluation. Pl. Mem. at 24-26. Those termination
      costs have now been considered by WHS, and weighing the costs and
      inefficiencies associated with continuing under the incumbent regime
      against the termination costs that might be due KENROB should ASD’s
      protest be sustained and ASD win the re-evaluation, WHS has concluded
      that the nation is best served by continuing to override the stay. See
      Supplemental Determination and Findings, attached as Exhibit B.
      Accordingly, the Government respectfully submits that the stay override is
      proper and well supported by the record.

Def. Opp. at 23-24 (emphasis added). As it turns out, we are not convinced that the
agency did, in fact, consider the full range of consequences in the event of a successful
protest by ASD. We address the merits of the supplemental evidence further below.

Administrative Record and Consideration of Supplemental Materials

       We review a challenged procurement decision through the prism of the
administrative record, under the procedures established by RCFC 52.1 (replaced RCFC
56.1, effective June 20, 2006) for motions for judgment on the administrative record.
Because we test the decision under the arbitrary and capricious standard, our review



                                           -11-
       Case 1:06-cv-00484-LMB Document 40 Filed 07/28/06 Page 12 of 17



should be necessarily confined to “the administrative record already in existence, not
some new record made initially in the reviewing court.” Comprehensive Health Serv.,
Inc. v. United States, 70 Fed. Cl. 700, 719 (2006) (citations omitted).

        As this Court has observed, however, the parties should be permitted, in
appropriate cases, to supplement the administrative record, since “in most bid protests,
the ‘administrative record’ is something of a fiction, and certainly cannot be viewed as
rigidly as if the agency had made an adjudicative decision on a formal record that is
then certified for court review.” Cubic Applications, Inc. v. United States, 37 Fed. Cl.
345, 350 (Fed. Cl. 1997) (Reviews factors which may support limited discovery or
supplementation of the administrative record). This is true in the “contract award
context,” perhaps. Id. However, in the narrow context of statutory compliance with the
automatic stay provisions of CICA, it is unnecessary to search beyond the four corners
of the override decision – the agency either complied with the requirements of Section
3553(d)(3) of CICA, or it did not.

       This case was essentially an unremarkable “override case” until the Government
attached its two exhibits to its Opposition Brief, purporting to present for the Court’s
consideration new material not included in the filed administrative record and, indeed,
created five days after the administrative record was filed. The documents were not
accompanied by any motion, nor, inexplicably, did the Government address in its brief
the anomalies they presented. The Government simply assumed the exhibits were part
of the decisional record and proceeded to argue their contents.

       For the first time at oral argument, counsel for the Defendant “formally” made a
motion to supplement the administrative record. At the conclusion of the Plaintiff’s
remarks, and before beginning her own presentation, counsel made an oral motion to
admit the two exhibits attached to the Government’s brief. Indeed, counsel was
somewhat hesitant, suggesting she would make the motion if the Court thought it
necessary. Her request was based, in part, on the argument that RCFC 65 allows
extra-record evidence on the issue of relief; that is, outside evidence may be
considered to the extent it bears on the question of whether the balance of harms and
the public interest support the issuance of injunctive relief.

        Counsel suggested that the documents were being offered on the question of
relief, and not on the merits of the override. The Government brief, however, clearly
relied on the documents on the question of merits. In the alternative, the Government
argued, the evidence should be permitted to “further explain the WHS Director’s original
findings.” Transcript of Oral Argument. According to the Defendant the Court should
consider the evidence under the second Esch exception.

       Counsel’s argument is internally inconsistent. On the one hand, she claims that
the proffered exhibits present no new rationale, but rather “provide further details.” Yet
she invokes the second factor articulated by the Court of Appeals for the D.C. Circuit in
Esch v. Yeutter, 876 F.2d 976 (D.C. Cir. 1989). That case cites a now famous law

                                           -12-
       Case 1:06-cv-00484-LMB Document 40 Filed 07/28/06 Page 13 of 17



review article which summarizes eight instances in which courts are likely to allow the
use of extra-record evidence – eight exceptions, if you will, to the general rule that
judicial review of agency action is limited to the administrative record:

       (1) when agency action is not adequately explained in the record before
       the court; (2) when the agency failed to consider factors which are
       relevant to its final decision; (3) when an agency considered evidence
       which it failed to include in the record; (4) when a case is so complex that
       a court needs more evidence to enable it to understand the issues clearly;
       (5) in cases where evidence arising after the agency action shows
       whether the decision was correct or not; (6) in cases where agencies are
       sued for a failure to take action; (7) in cases arising under the National
       Environmental Policy Act; and (8) in cases where relief is at issue,
       especially at the preliminary injunction stage.

Id. at 991 (citing Stark & Wild, Setting No Records, The Failed Attempts to Limit the
Record in Review of Administrative Action, 36 Admin.L.Rev. 333, 345 (1984) (emphasis
added). Of course, the second Esch exception, invoked here by Defendant, has
nothing to do with providing further explanation or details. Indeed, it is an exception
upon which the Government would rarely rely. But to the extent the defendant suggests
that its agency “failed to consider factors relevant to its final decision” – some of which
appear in the supplementary materials but not in the original D&F – we would agree.
And, of course, to the extent that counsel is implicitly conceding the agency’s original
failure to consider relevant factors, she concedes the merits.

       At the hearing, we ruled that the Defendant has waived its opportunity to justify
its submission of the exhibits. As a procedural matter, the exhibits attached to
Defendant’s Opposition Brief are not properly before us. We agree with the
Government that extra-record evidence may be considered on the issue of relief, or as
the Government termed it the “harm analysis.” However, this evidence goes directly to
the merits of the agency’s decision and whether or not it was reasonable. Though
portions of the declaration and the supplemental findings address relief and the balance
of hardships, those documents are proffered to demonstrate that the WHS correctly
determined that contract suspension is not in the best interests of the Government.

        The Plaintiff objected that the Government’s exhibits were a thinly veiled attempt
to get a second bite at the apple. That came a full two weeks after the first override
decision, five days after the filing of the administrative record. The supplemental
findings offend the statutory requirements. See 48 C.F.R. § 33.104(c)(3) (“Contract
performance shall not be authorized until the agency has notified the GAO of the
[written “best interests” finding].”). We have been supplied no authority for the
proposition that the override determination can be an evolving document. In effect, the
Government has executed the override two weeks before it issued its “perfected”
Determination and Findings. The text of the statute does not support a reading that the


                                           -13-
       Case 1:06-cv-00484-LMB Document 40 Filed 07/28/06 Page 14 of 17



override can precede the statutory justification. It is our conclusion, therefore, that
under principles of administrative review, the validity of the WHS Director’s override
decision must “stand or fall on the propriety of that finding.” Camp v. Pitts, 411 U.S.
138, 143 (1973).

        Therein lies the fundamental flaw in the way in which the purported supplemental
findings are presented to us. The evidence offered by the Government with its
responsive pleading is “no more than a litigation position to which no deference is due.”
Gose v. U.S. Postal Service, 451 F.3d 831, 838 (Fed. Cir. 2006) (characterizing
agency’s after-the-fact interpretation of its own regulation); see also, ATA Def. Indus.,
Inc. v. United States, 38 Fed. Cl. 489, 498-99 (1997), abrogated on other grounds,
258 F.3d 1294, 1302 (Fed. Cir. 2001). Given the timing of their submissions, the total
absence of any effort to explain or justify the legal significance of its submissions, and
the lack of corroborating detail in the administrative record, the WHS, with Mr. Newton’s
supplemental findings and Mr. Cox’ declaration, is “now masquerading a post hoc
rationalization as a then-existing ‘interpretation’” of its basis for overriding the stay.
Gose, 451 F.3d at 839 (citing Burlington Truck Lines, Inc. v. United States, 371 U.S.
156 (1962)); see also Parker v. OPM, 974 F.2d 164, 166 (Fed. Cir. 1992) (recognizing
risk that agency actions would be based on desire to prevail in litigation rather than to
further appropriate agency goals).

        Even were we to consider the new justifications for the override, moreover, our
view of the WHS determination would not change. For example, the affidavit and the
belated supplementation of the override cite for the first time “unforecasted [IT budget]
cuts imposed in the middle of the fiscal year.” This is an attempt to buttress the case
against delaying the consolidation of IT systems in the new contract. Supp. D&F at ¶ 7.
We have distressingly little information about these budget cuts – when, for example,
were they imposed? Before the original override, perhaps. These are self-imposed
concerns, and do not necessarily have any bearing on the question of whether
“performance of the contract is in the best interests of the United States.” 31 U.S.C.
§ 3553 (d)(3)(C) (emphasis added). Budget cuts are an inevitable vexation for program
officers across the spectrum of federal agencies; they are certainly not unique to the
Department of Defense or the WHS. See PGBA, 57 Fed. Cl. at 663 (“[CICA] does not
allow the agency to override the stay when it is in the best interests of that agency or
the agency’s contracting officials. Rather, the best interests of the ‘United States’ must
be involved and those interests necessarily include weighing the benefits Congress
obviously felt were furthered by bolstering the bid protest process and, in turn,
promoting competition in contracting.”).

       The July 5 supplemental findings for the first time establish a dollar figure for the
purported economic advantages of the consolidated contract. According to those
findings:




                                            -14-
       Case 1:06-cv-00484-LMB Document 40 Filed 07/28/06 Page 15 of 17



       The direct costs savings, $462,054 per month, reaped by WHS through
       performance of the consolidated contract during the override period
       pending GAO’s decision and, if necessary, the time required to reevaluate
       the proposals, significantly outweighs the potential termination for
       convenience costs. This net positive cost savings coupled with the
       enhanced performance benefits for the IT systems supporting the
       Secretary of Defense and other Pentagon-based agencies make it in the
       nation’s best interests to continue contract performance pending the ASD
       protest.

Suppl. D&F at ¶ 5. Though certainly an improvement over the vague rationale of the
override determination, the supplemental findings still do not establish a unique need
for immediate performance. We would reject the purported $462,000 in cost-savings
as only a variant on the “new is better” justification.

        Quite apart from the procedural and legal infirmities of this after-the-fact
expansion of the original justification, we have problems with the math. First, as
Plaintiff points out, the calculation of the monthly savings of $462,000 is based on facts
not found in the administrative record – that is, the cost of the individual contracts. The
agency’s projected costs of re-transition, in the event of a successful protest, are
between $28,000 and $58,000. This wide-ranging figure is also not explained or
referenced in the administrative record; we have only the conclusory statements of
Mr. Cox in a single paragraph of his declaration. Cox Decl. at ¶ 14. In contrast, there is
no figure provided for the projected contract termination costs. In estimating the
potential cost of an override in the event the GAO protest is successful -- and the
KENROB contract is necessarily terminated for the convenience of the Government –
WHS must calculate the exposure to compensate KENROB. As in the PBGA case,
“[t]he Director made no effort to quantify these costs,” thereby downplaying “a variable
that should have been an important aspect of his cost evaluation calculus.” PGBA,
57 Fed. Cl. at 662 (citing legislative history, H.R. Conf. Rep. No. 98-861 at 1436,
U.S. Code Cong. & Admin. News 1984, pp. 697, 1080-81.); see Cigna, 70 Fed. Cl. at
111 (Agency failed to articulate costs of “recompeting these contracts and redoing the
activities it is now conducting with potentially different vendors in the event a GAO-
ordered reevaluation were to change the results.”).

         Plaintiff argues that KENROB’s early costs of performance will be significant,
including the installation of a so-called Enterprise Management Tool Suite at a cost of
just under [$]. Counsel assured the Court during oral argument that this potential
liability was actually considered by the agency and factored into its cost analysis. We
have been pointed to no evidence supporting this thesis, however. Nor is there any
evidence the agency included this near million dollar exposure as a potential liability in
a termination for convenience. Accordingly, it fails administrative review . See Cygnus
Corp., Inc. v. United States, et al., Case No. 05-1313C, slip. op. at 8 (Fed. Cl. July 13,
2006) (“[W]hen an agency cites cost savings as a justification ... the


                                           -15-
        Case 1:06-cv-00484-LMB Document 40 Filed 07/28/06 Page 16 of 17



facts supporting this justification must be borne out in the administrative record.”) (citing
Great Lakes Dredge & Dock Co. v. United States, 60 Fed. Cl. 350, 358 (2004)).

Entitlement to Declaratory and Injunctive Relief

        In deciding bid protests, we deal with the familiar burdens required for litigants
seeking extraordinary relief. In particular, a party moving for injunctive relief, whether a
preliminary or permanent injunction, must show: (1) success (or in the case of a
preliminary injunction, a substantial likelihood of success) on the merits; (2) that the
plaintiff will suffer irreparable harm if the Court does not grant an injunction; (3) that the
balance of hardships to the respective parties favors granting the injunction; and
(4) that it is in the public interest to grant injunctive relief. PGBA, LLC v. United States,
389 F.3d 1219, 1228-29 (Fed. Cir. 2004) (citing Amoco Prod. Co. v. Vill. of Gambill,
Alaska, 480 U.S. 531, 546 n.12 (1987)). A motion for declaratory judgment, on the
other hand, does not require the movant to demonstrate irreparable harm. PGBA,
389 F.3d at 1228 n.6 (citations omitted).

       Bid protests are generally brought before the Court on motions for preliminary
injunction or on motions for a temporary restraining order. As a rule, when applying the
four factors for injunctive relief, no single factor is dispositive and an inadequate
showing regarding one factor may be overcome by the strength of the other factors.
FMC Corp. v. United States, 3 F.3d 424, 427 (Fed. Cir. 1993); PGBA, 57 Fed. Cl. at
656. There is, however, support for the theory that none of these requirements for
injunctive relief applies to protests concerning a CICA override determination. Senior
Judge Merow explains his analysis thusly:

       If, as here, the agency override determination is, after application of the
       review standard prescribed by 28 U.S.C. § 1491(b)(4), determined to lack
       validity, declaratory relief so ruling serves to reinstate the statutory stay of
       contract performance, during the GAO protest period automatically
       provided under 31 U.S.C. § 3553(d)(3)(A). Congress did not require any
       evaluation of injunctive relief factors as a prerequisite to a stay of contract
       performance upon the filing of a protest with the GAO. Thus, it would be
       contrary to the legislative scheme to impose such an additional
       requirement, upon finding that an agency override determination lack [sic]
       validity, in order to reinstate the statutory stay applicable during the GAO
       protest period. Declaratory relief preserves the scheme that Congress
       enacted.

Chapman Law Firm Co. v. United States, 65 Fed. Cl. 422, 424 (2005). There does
seem to be some incongruity in forcing a plaintiff to meet the high burden necessary for
obtaining extraordinary relief, when the statute gives presumptive weight to the
otherwise required showings of irreparable harm and public interest.



                                             -16-
       Case 1:06-cv-00484-LMB Document 40 Filed 07/28/06 Page 17 of 17



        Judge Williams recognizes the same rule for reasons of practicality and
efficiency:

       Because the declaratory judgment will reinstate the stay and vacate the
       override, having the same effect as an injunction, the Court does not
       reach the issue of injunctive relief. In so ruling, the Court has taken into
       account the necessity of resolving this matter expeditiously recognizing
       that each day that passes prolongs the time when the stay is not in effect.

Cigna, 70 Fed. Cl. at 114.

         We adopt this approach, as well. Thus, despite the fact that Plaintiff requests an
injunction, we find that a declaratory judgment achieves the same effect. By
concluding, as we do, that the agency’s CICA override lacks a rational basis and is
contrary to law, we return the parties to the status quo ante – the automatic stay of
performance is necessarily restored. In accordance with CICA, the WHS cannot
proceed with KENROB’s performance of this contract. And by virtue of this ruling, the
agency may not base some hypothetical future override on the reasons articulated in
this litigation (Counsel for the United States conceded during oral argument that the
practical effect of a declaratory judgment in Plaintiff’s favor meant that any future
override determination must allege new reasons.).


                                     CONCLUSION

       Based on the foregoing reasons, we conclude that the determination to override
the automatic stay imposed under CICA lacks a rational basis and is contrary to law.
Accordingly, the WHS determination and findings, dated June 21, 2006, and
supplemental determination and findings, dated July 5, 2006, are set aside. By
operation of law, the automatic stay in Plaintiff’s GAO protest is reinstated.

      Plaintiff’s motion for declaratory judgment is hereby GRANTED. Plaintiff’s
motion for a preliminary injunction is DENIED as moot.


       IT IS SO ORDERED.



                                                   s/ Lawrence M. Baskir
                                                  LAWRENCE M. BASKIR
                                                          Judge




                                           -17-
